Case 5:24-cv-06920-EKL   Document 31-8   Filed 12/06/24   Page 1 of 4




                         Exhibit G
             Case 5:24-cv-06920-EKL                        Document 31-8                 Filed 12/06/24              Page 2 of 4


  From: PII
Subject: Musi app
   Date: November 20, 2024 at 11:07 AM
     To: support@feelthemusi.com

       Greetings! This is one of your many users speaking.

       So I have recently discovered this on the app store, and I wanted to ask.

       Has the app officially come back onto the app store yet? Or is this a fake version of your app? If you could confirm whether this is real or
       not, I'd greatly appreciate it. Thank you for reading, and have a great day!
Case 5:24-cv-06920-EKL   Document 31-8   Filed 12/06/24   Page 3 of 4
Case 5:24-cv-06920-EKL   Document 31-8   Filed 12/06/24   Page 4 of 4
